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                 EXHIBIT 4
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  Message

  From:               Joe Alala     JAlala@capitalagroup.com]
  Sent:                5/4/2018 9:19:27   AM

  To:                  Fabian Korzendorfer     [fkoerzendoerfer@stepstoneglobal.com]
  Subject:            Re: Update.




  Yes

  Joe Alala, III
  Chairman and CEO
  Capitala Group
  Capitala Finance Corp (NASDAQ-CPTA)
   Capitala        Specialty Lending Corp
  CapitalSouth Growth Fund
  Phone    704-376-5502 ext. 24
              -




  www.capitalagroup.com
  Please      forgive any typing          or   grammatical          errors.   It is I the operator who is challenged by emails while
  constantly traveling.
  Sent from my iPhone


  On     May 4, 2018, at 3:25 AM, Fabian Korzendorfer <fkoerzendoerfer@stepstoneglobal.com>                                        wrote:


  Joe


  Thank you for the update.


  Would you be available for a quick call today at 4pm to discuss the below. Do you have                                    an   estimate   on   what
  amount Nova Funds believes to be due from the below proceedings?


  Best,
   Fabian




  From:      Joe Alala II <JAlala@capitalagroup.com>
   Sent:     Dienstag, 1. Mai 2018 02:32
  To: Jan         Kuhlmann <jkuhlmann@stepstoneglobal.com>; Fabian Korzendorfer
  <fkoerzendoerfer@stepstoneglobal.com>
   Subject:       Update.

  Jan.     You asked about the inquiries from               a   placement agent to      our    relationship


  The      placement agent is Nova Funds from North America. They have issued                                 us a   demand email/notification           on

  all investors in Capitalas           Specialty Lending Corp

  We have filed suit against them. And                are       amending the legal claim to include            a cease   and desist and     a tortuous
   interference      with   contract


  We    will not involve Stepstone in this action. We do ask that you keep all contracts warehoused in Cayman
   offices. Our Cayman law firm and custodian will be in contact


  We have many defenses. Violation                 of contract. This          new   vehicle   is a substantially      different strategy then      the




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  Fund V mezzanine strategy. Most Important. We did not raise any                    of the monies. We       are   acting   as a sub advisor
  to your funds that have 90 day termination outs


  They have no confirmation of which entities that         we sub         advise. They   are   in the dark   as   they quit working     on

  our Fund V in Winter 2017 almost 1.5 years ago



  If you have any questions. Please contact       me   via phone. We also will not disclose the other investors                  that
  become     part of Capitala specialty lending   corp


  Deal flow is very active but pricing is super competitive-               we   have NYC office opening this month. We hired
  very seasoned partner to open it..


  Hope you     are great
  Joe


  Joe Alala, III

  Chairman and CEO
  Capitala Group
  Capitala Finance Corp (symbol CPTA) permanent capital vehicle Capitala Specialty Lending Corp
                                             -




                                                                                                                                 -
  permanent capital vehicle Jalala@CapitalaGroup.com
  704-3 76-5502
   http://www.capitalagroup.com
  Please  excuse any grammatical or spelling issues        as   it   is   I the operator who    is challenged      by email    construction
  while traveling Sent from my iPad




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